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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

(Eastern Division)

 

WALTER H. SCOTT,

Plaintiff,
v.

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RBS ClTIZENS N.A., RICHARD H. KREAM, and
WELTMAN, WEINBERG & RElSE CO., L.P.A.,

Defendants.

 

COMPLAINT
This complaint alleges violations of the federal Fair Debt Collection Practic'es Act, l§ U.S.C.

§l69la, et seq., its Massachusetts analog, Mass. G.L. cl 93, §42, and the Massachusetts unfair trade practices

statute, Mass. G.L. c. 93A, §9.

Parties
l. The Plaintiff Walter H. §cott (“Mr. Scott”) is an individual residing in the Citv of Cambridge,
Massachusetts. At all times relevant to this litigation, Mr. Scott was a “consurner" as that term is

defined in 15 U.S.C. §16923(3).

2. The Defendant RBS Citizens N.A. (“Citizens Banl<”) is a national banking association bearing
national charter no. 24571. lt is headquartered at One Citizens Plaza, Providence, Rhode lsland
02903. RBS Citizens N.A. does business in Massachusetts as Citizens Banl<. At all times relevant
to this Complaint, Citizens Bank was a “creditor" as that term is defined in 15 U.S.C. §1692a(4)

and 940 C.M.R. §7.03.

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The Defendant Richatd H. Kr§am (“Attorney Kream") is an individual residing in the
Commonwealth of Massachusetts. He maintains a principal place of business at 536 Broad Street,
Suite 5, East 1\l(/eymouth, Massachusetts 02189. Attorney Kream is an attorney licensed to practice
law in the Commonwealth of Massachusetts and, on information and belief, does business as Kream
and Krearn. On information and belief, Attorney Kream acted in his capacity as an agent of either
Weltman Co. or Citizens Banl< with respect to the conduct alleged herein. At all times relevant to
this Complaint, Attorney Kream was operating as a “debt collector" as that term is defined in 15

U.S.C. §1692a(6), and a “creditor" as that term is defined in 940 C.M.R. §7.03.

The defendant Weltman, \_Yfeinberg & Reise Co.l L.P.A. (“Weltrnan Co.”) is a licensed professional

corporation organized under the laws of Ohio. lt maintains a principal place of business at various
locations throughout Ohio and surrounding states. its registered agent is Alan Weinberg, 323 W.
Lal<eside Avenue, Suite ZOO, Cleveland, Ohio 44113. On information and belief, Weltman Co.
acted in its capacity as an agent of Citizens Banlc with respect to the conduct alleged herein. At all
times relevant to this Complaint, Weltman Co. was operating as a “debt collector” as that term is

defined in 15 U.S.C. §1692a(6), and a “creditor” as that term is defined in 940 C.M.R. §7.03.

Venue and ]urisdiction

This court has subject matter jurisdiction pursuant to 15 U.S.C. §169Zlc(d) and 28 U.S.C. §1331.

Venue is proper in this District pursuant to 28 U.S,C. §1391 (b).

Factual allegations
At all times relevant to this action, Mr. Scott maintained personal and professional banking

accounts at Citizens Banlc.

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The Cashier’s Checl<
On or about February 4, 2008, Mr. Scott received Banl< of America Cashier's Check no. 0995359 in
the amount of $30,000 (the “Cashier's Checl<”). The Cashier's Checl< was made payable to Mr.
Scott, and he deposited that Cashier‘s Check with Citizens Bank that day. Mr` Scott intended to

apply the proceeds to satisfy various outstanding financial obligations

Relying on the availability of funds represented by the Cashier’s Checl<, Mr. Scott then proceeded

to pay his various outstanding financial obligations

On February 7, 2008, Mr. Scott learned that Citizens Banlc had dishonored the Cashier`s Check.

Citizens Banl<’s decision to dishonor the Cashier’s Check was not caused by any conduct ot act of

Mr. Scott. Mr. Scott was wholly blameless with respect to the dishonor of the Cashier’s Check.

By dishonoring the Cashier’s Checl<, Citizens Banl< removed the source of funds used by Mr. Scott
to repay his various outstanding financial obligations As a result of the dishonor, Citizens Banl<

caused Mr. Scott’s accounts to become overdrawn.

Citizens Bank then threatened collection action with respect to the overdrafts on Mr. Scott’s

ElCCOUUIS.

Via certified letter dated April ll, 2008, Citizens was informed of the circumstances surrounding
the dishonored Cashier’s Check. A true and accurate copy of that letter is appended hereto as

Exhibit A and incorporated herein by reference

Citizens Bank responded via letter dated April 21, 2008. ln that letter Brian Srnithl a duly~
aurhorized Citizens Banl< representative, granted Mr. Scott a forbearance period of 60 days ftom

April 21, 2008 in relative to Citizens’ further atrempts ro collect the outstanding arnounts. A true

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and accurate copy of this letter is appended hereto as Exhibit B and incorporated herein by

reference

The wrongful conducr

On May 8, 2008, Attorney Kream sent a letter threatening collection action to Mr. Scott (the “May
8 Letter”). A true and accurate copy of the May 8 Letter is appended hereto as Exhibit C and

incorporated herein by reference.

At the time the May 8 Letter was sent, Citizens Bank knew that Mr. Scott was represented by
counsel relative to the circumstances surrounding the Cashier’s Check. As a result, Citizens Bank’s
agents, including Attorney Kream and Weltman Co., knew or should have known that Mr. Scott

was represented by counsel

The May 8 Letter violated multiple sections of the federal Fair Debt Collection Practices Act, its
Massachusetts state analog, and regulations promulgated by the Massachusetts Attorney General as

set forth in, inter alia, 940 C.M.R. §7.01 et seq. For example and without limitation:

The May 8 letter violated 15 U.S.C. §1692c(a)(2), Mass. G. L. Chaptei' 93, §49(b), and
940 CMR §?.04(2) relative to direct communications with a party represented by legal
counsel.

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b. The May 8 Letter violated 15 U.S.C. §1692e(2)(A) because it contained a false
representation of the character and legal status of the debt. Because Citizens Bank placed
Mr. Scott’s account in forbearance for sixty days from April Zl, 2008, Attorney Kream was
not authorized to engage in collection efforts.

c. The May 8 Letter violated 15 U.S.C. §l692e(5) because it contained a threat to take action
(1.e,, collection) that the defendants were prohibited from doing until on or after june 20,
2008.

d. The May 8 Letter violated 15 U.S.C. §1692e(8) because it communicated information

which the sender should have known to be false, i.e., that collection could proceed The
May 8 Letter further violated this section because it failed to communicate that Citizens
Bank had put the account in forbearance.

e. The May 8 Letter violated 15 U.S.C. §169?.€(10) because, as described above, it contained
a false representation and used deceptive means to attempt to collect a debt.

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f. The May 8 Letter violated the Massachusetts Attorney General’s regulations relative to
debt collection, in particular, 940 CMR c[['.".07(2) (prohibiting “knowingly false or
misleading representations in any communication as to the character, extent or amount of
the debt, or as to its status in any legal proceeding”).

g. The May 8 letter violated 940 C.M.R. §7.04(1)(i) by failing to contain the information
required by regularion.

h. The May 8 Letter also violated 15 U.S.C. §1692g(a)(2) because it did not clearly identify
the name of the creditor to whom the debt was owed.

On information and belief, when Attorney Kream sent the May 8 Letter, he did so with the
knowledge and approval of, and at the direction of Citizens Bank. On information and belief, when
Attorney Kream sent the May 8 Letter, he did so with the knowledge and approval of, and at the

direction of Weltman Co.

On information and belief, Citizens Banl-: and/or Weltman Co, and/or Attorney Kream has
wrongfully caused adverse information to be reported to various credit reporting agencies relative to

this incident, all to Mr. Scott’s detriment

The Chapter 93A demand letter
On May 20, 2008 a demand letter under Chapter 93A, §9 was sent to Attorney Kream via certified
mail, return receipt requested A true and accurate copy of that demand letter is appended hereto as

Exhibit D and incorporated herein by reference. On information and belief, the letter was received

on May 21, 2008.

Attorney Kream, Weltman Co., and Citizens failed to respond to this Chapter 93A demand letter

within the thirty-day period set forth in Mass. G.L. c. 93A, §9(3).

First cause of action
Violations of the Far`r De.bt Coflectr`on Practices Act
(Against Attorney Kream, Weltman Co. and Citizens Bank)

Paragraphs l through 22 are repeated and realleged as if set forth more fully herein.

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Each of Attorney Kream, Weltman Co., and Citizens Bank violated the Fair Debt Collection

Practices Act as identified above.

As a direct and proximate result of Attomey l'(ream’s1 Weltrnan Co.’s, and Citizens Bank’s violation
of the Fair Debt Collection Practices Act, Mr. Scott has been harmed in an amount to be
determined at trial, plus statutory damages1 plus costs and reasonable attorneys’ fees as provided by

15 U.S.C. §1692k(a).

Second cause of action
Violati`ons ofMass. G.L. c. 93, §49
(Against Attorney Kream, Weltman Co. and Citizens Bank)

Paragraphs 1 through 25 are repeated and realleged as if set forth more fully herein.

By their conduct as described above, each of Attorney Kream, Weltman Co\, Citizens Banl< violated

the provisions of Mass. G.L. c. 93, §49 and the regulations promulgated by the Attorney General at

940 C.M.R. §?.04.

As a direct and proximate result of Attomey Kream’s, Weltman Co.’s, and Citizens Bank`s violation
of Mass. G.L. c. 93, §49, Mr. Scott has been harmed in an amount to be determined at trial, plus

statutory damages, plus costs and reasonable attorneys' fees as allowable by stature.

Third cause of action
Violatr`ons ofMass. G.L. c. 93/-1, §9
(Against Attorney Kream, Weltman Co. and Citizens Bank)

Paragraphs l through 28 are repeated and realleged as if set forth more fully herein.

By their conduct as described above, each of Attorney Kream, Weltman Co... Citizens Bank violated

Mass. G.L. c. 93A, §9.

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31. As a direct and proximate result of Attorney Kream’s, Weltman Co.'s, and Citizens Bank’s violation
of Mass. G.L. c. 93A, §9, Mr. Scott has been harmed in an amount to be determined at trial, with
such damages to be doubled or trebled pursuant to Mass. G.l_,. c. 93A, §9(3), plus reasonable

attorneys' fees as provided by statute.

PR.AYERS FOR RE].IEF

The Plaintiff Walter H. Scott respectfully requests this Court;

c. Enter judgment against each of RBS Citizens N.A., Richard H. Kream, and Weltinan,
Weinberg 81 Reise Co., L.P.A. on his First, Second, and Third Causes of Action in an
amount to be determined at trial, with damages to be doubled or trebled pursuant to statute;

b. Award l\/lr. Scott his costs and reasonable attorneys1 fees as allowed by 15 U.S.C.
§1692k(a)(3), Mass. G.L. c. 93A, §9(3), Mass. G.L. c. 231, §GF, or any other applicable
statute', and

c. Grant such other, further, and different relief as the Court deems just and proper.
Respectfully submitted,

WALTER H. SCOTT
B is att y,

   
   

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Dated; june 25, 2008

THE PLAINTIH= REQUESTS A rarAi. BY IURY oN ALL cLAiMs so TRIABLE.

